          Case 2:10-cr-00413-MCE Document 22 Filed 12/07/10 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2932
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,            )    CASE NO. 2:10-CR-00413 MCE
11                                        )
                        Plaintiff,        )    STIPULATION AND ORDER
12                                        )
     v.                                   )    DATE: December 2, 2010
13                                        )    TIME: 9:00 a.m.
     JUAN MANUEL CUEVAS,                  )    COURT: Hon. Morrison C. England
14   HUGO CHAVEZ-DELACRUZ, AND            )
     ARMANDO FLORES CAMPOS,               )
15                                        )
                        Defendants.       )
16                                        )
17
          IT IS HEREBY STIPULATED by and between Assistant United
18
     States Attorney Paul Hemesath, counsel for Plaintiff; J. Toney,
19
     counsel for defendant Juan Manuel CUEVAS; Michael L. Chastaine,
20
     counsel for defendant Armando Flores CAMPOS; and Gilbert Roque,
21
     counsel for defendant Hugo Chavez DELACRUZ, that the above status
22
     conference be rescheduled from this Court’s December 2, 2010,
23
     calendar, and that the matter be re-calendared for January 6, 2011,
24
     at 9:00 a.m. This request is made jointly by the government and
25
     defense in order to permit time for continued preparation, including
26
     investigation which is currently in progress, and plea negotiations.
27
          IT IS FURTHER STIPULATED that time be excluded between through
28

                                           1
          Case 2:10-cr-00413-MCE Document 22 Filed 12/07/10 Page 2 of 2


 1   January 6, 2011, pursuant to 18 U.S.C. § 3161(h)(7)(A) &
 2   (B)(ii)&(iv), Local Code T-4.
 3
 4   Dated: November 30, 2010               /s/ Paul Hemesath
                                            Paul Hemesath
 5                                          Assistant United States Attorney
                                            Counsel for Plaintiff
 6
     Dated: November 30, 2010               /s/ J. Toney
 7                                          J. Toney
                                            Counsel for Defendant
 8                                          Juan Manuel CUEVAS
 9   Dated: November 30, 2010               /s/ Michael L. Chastaine
                                            Michael L. Chastaine
10                                          Counsel for Defendant
                                            Armando Flores CAMPOS
11
     Dated: November 30, 2010               /s/ Gilbert Roque
12                                          Gilbert Roque
                                            Counsel for Defendant
13                                          Hugo Chavez DELACRUZ
14
                                      O R D E R
15
          IT IS SO ORDERED.
16
17
     Dated: December 7, 2010
18
19                                      _____________________________
20                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28

                                           2
